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Re: BitCoins Case 2:24-cr-00103-MWF         Document 21-9 Filed 12/03/24      Page 2 of 7 Page ID
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         Subject: Re: BitCoins
         From: Roger Ver <roger@memorydealers.com>
         Date: 2015/12/06, 08:08
         To: Lawyer 1
         CC: Return Preparer 1

         HI Lawyer 1

         I think I understand your email below.
         The 25,000 Bitcoin estimate is for Bitcoins I hold personally, and does not include any
         other bitcoins that I may have been holding custodially for others.

         Please feel free to relay that information to A000rai r 2

         Thank you,

         Roger Ver


           On Dec 6, 2015, at 5:28 AM, Lawyer 1                                   wrote:

           Dear Roger,

           A followup to the last e-mail. Please let me relay the division (or
           lack of) of the Bitcoins among types of holdings to Appmi.K2 on your behalf.

           Best,

           Lawyer

           l_a      1w   Firm 1
           On 2015/12/05 12:26, Lawyers           wrote:
             Dear Roger,

             Let's take a step back. Without reference to technical access and legal
             ownership: In your mind, do all those Bitcoins belong to you
             personally, or have some of the Bitcoins been set aside for something
             else? For example,              MemoryDealer US, or your wife?

             If you think the Bitcoins should be yours personally, then we can stop
             here. We can let Appser2 know that the 25,000 Bitcoins are yours personally.

             If you think some of the Bitcoins have been set aside for something
             else, and you just do not know how they should be assigned, perhaps we
             can assign the wallets based on the accounts they are associated with?

             For example, let's say that wallet A's Bitcoins are traded on Mt. Gox
             for cash, and the cash always went into MemoryDealer Japan's bank
             account:. We would then say wallet A belongs to MemoryDealer Japan, and



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           your control over the wallet means you are acting as its agent.

           Similarly, if wallet B's Bitcoins have been used exclusively to buy
           equipment for           , then we say wallet 0 belongs to
           even if you have exclusive control over the wallet.

           For another example, let's take the Bitcoin wallet you shared with us.
           For joint cash accounts, usually US laws traces the cash to the person
           who funded it, un€.ess there was a specific agreement between the joint
           account holders to the contrary. By analogy, we would treat the wallet
           you shared with as as your wallet until you say otherwise,

           Please let me know if any of these met mds are feasible for assigning
           Bit.coins.

           Lawyer

                         Firm          1




           On 2015/12/05 08:25, Roger Ver wrote:
             25,000 is just a ballpark guess of how many bitcoins I had in my many different
             bitcoin wallets on Feb 4th 2014.

             Bitcoin accounts aren't designated as having an any specific owner.

             For example,    here is a bitcoin wallet:   httos://rushwallet.com

             (Password is:

             That URL is the bitcoin wallet, and the bitcoins an be accessed by anyone with that
             URL, but they are not stored on anyone's server, so no one can block those funds or
             seize the account.
             It is very different than Paypal, or a bank.

             So I guess the interesting question is who owns that wallet now?
             Technically all three of us can access it now.

             Sorry I don't have a more direct answer for you,

             Roger Ver

             P.S.
             In fact, I even turned the text of the email above into a bitcoin wallet.
             Anyone with the text of this email can access the wallet using free, open source,
             bitcoin brain wallet software.
             https://brainwallet,io/


               On Dec 5, 2015, at 10:45 AM,                                           wrote:

               Dear Roger,




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              Appra er 2
                    had asked me to confirm:         Are the 25,000 BTC that you asked him
              all your personal BTC?

              I believe you've already separated MemoryDealer US, MemoryDealer Japan,
              and your own Bitcoins before giving him the 25,000 figure, but I'd like
              to make sure.

              If they are not all your Bitcoins, it would be useful to divide them
              according to how they are held, because he will apply different
              valuation methods to them.

              If you'd like to double check the method you used to separate the
              Bitcoins, please let me know.

              Best regards,




              Law
               aNyer1             Firm          1




              On 2015/12/03 20:27, Roger Ver wrote:
                I think it is taken care of with Mil now.
                I gave him my best estimate.

                 Thank you both,

                  Roger Ver


                     On Dec 4, 2015, at 3:08 AM, Lawyerl                                      wrote:

                      Hi Roger,

                     I just wanted to followup with you on the BTC counting. Please let me
                     know if you'd like a call to discuss how to check how many BTCs you owned.

                     Best,




                     Lil
                       a yaerlw       Firm          1




                     On 2015/12/02 15:40, Lawyerl            wrote:
                       Hey Roger,

                           I just wanted to followup on the BTC valuation.

                           Do you have an idea as to how many BTC you owned on expatriation date?
                           If I can help you with that in any way, please let me know.


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                   Lawyers

                   Law              Firm 1
                   On 2015/11/30 17:19, Roger Ver wrote:
                     Hi Lawyer 1

                     1. I don't thin App., er 2 has a PGP key.
                     2. Thank you for the guidance.

                     Roger Ver
                       On Dec 1, 2015, at 3:07 AM,
                       wrote:
                                                      Lawyer 1
                       Hi Roger,

                       Just wanted to followup on this e-mail. I do not have a PGP key for
                      Appraiser 2
                            , so I am not able to send encrypted e—mails to him. If plain
                       e-mail is fine, then I will reach out to him that way.

                       Best,

                      Lawyer
                      Law Firm 1
                       On 2015/11/24 17:13, Lawyers              wrote:
                         Dear Roger,

                          Regarding the Bitcoin appraisals:
                          1. Does Mil have a public key? I am unable to find one in the public
                          keyservers.

                          2. Bitcoin ownership
                          Our understanding is that your wife is the sole owner of MemoryDealers
                          Japan, and you merely conducted the trades for the BTC under
                          MemoryDealers Japan. This means that BTC held under MemoryDealers Japan
                          are not party of your BTC holdings.

                          The appraisal for MemoryDealers US included BTC of $1,304,054 as assets
                          of the company. The appraisal said that this number was based on the
                          company financials. I do not know how many BTC this corresponded to or
                          how this figure was calculated, but these BTC belong to MemoryDealers
                          US. They have already been counted as part of the corporation's value,
                          so you do not need to include them as your own BTC.

                          This is the simplest and most reasonable allocation of BTC holdings.
                          Please let me know if you have any difficulties calculating how many BTC


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                         you have based on this method. If you have difficulties tracing BTCs
                         because of co-mingling of BTC in wallets, please let me know, so we can
                         see if there are alternative allocation methods that are reasonable.

                         Best regards,

                         Lawyers

                        Law            Firm          1




                         On 2015/11/20 23:01, Roger Ver wrote:
                           Hi 4 Dmwr2
                           CC         and Lawyers

                           Nice talking with you on the phone yesterday.
                           I just want to clarify for everyone, even though I already wired the
                           money to you for the appraisal, your customer will be the Law Firm 1
                                 not myself.
                           That means that all the work you produce for them will be under your
                           attorney client privilege with them.

                                   and Lawyers may have a bit more to add.

                           Thank you all so much!

                           Roger Ver




                            On Nov 21, 2015, at 8:24 AM, Lawyer 1
                                                       wrote:

                            Hi Roger,

                            If you have not already hired Mil already, then we'd like to hire
                            him
                            for the BTC appraisal for purposes of preserving privilege. Could
                            you
                            put us in touch with him?

                            Best regards,

                            Lawyer1


                            Law            Firm          1




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         Attachments:


         signature.asc                                                         841 bytes




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